Case 3:12-cr-00003-DHB-BKE Document 837 Filed 05/04/15 Page 1 of 3




                                IN     THE IINITED STATES DISTRICT  COI'RT
                                            SOUTHERN DISTRICT OF GEOBGIA
                                                                                                          #*'*tj#,Ffi1
                                                                                                       "".20l5lfty-rr
                                                   DUBIJIN DIVISION                                                pfi               t:15

IINITED                   STATES OF AMERICA


                  vs.                                                        *       rrp    21t-nn?-      5



ANTONIO SMILEY



                                                                    ORDER




                   rn            i-hF r-enl-ioned               criminal           matter,         Defendant            Antonio

Srniley has fiLed                                a motion           for    reconsideration               of a prior         order

denying a senLence reduction                                              under 18 u'S.C.              S 3582(c) (2).           In

particular.                             Smiley asks for                   reconsideration           of an order             daEed

,fanuary                       28,      20f5,        which          concluded       that      Amendmenb 782 to                 t.he

United                    statses sentencing                        Guidelines        affords          smiley        no rel-ief

because he was sentenced as a career                                                       offender       under U,S.S.G'

s 481.1(b) (2) .

                   In his               presen!       motion,             smiley     takes      issue         with    the     facE

that              he was senlenced                         as a career            offender      because he received

a U.S.S.G.                            S 5 K 1. l d e p a r t u r e        for his substantial                 assistance        to

the Government                                and because             the Cour!        slaLed       at    the       sentencing

hearing                       that       if   Smil-ey returned                   to federaf        court,          he "wilI     be

considered,                              no    doubt,           a    career        offender."            (Doc.       No.      734,

qanl-                                  ,T'r                 \        cmi 1c'.,     .'.\nf a1i.lS
l ) c r r L E r raey l . ' iJn
                             r rrYr            el.    2q                                            t.hat       these       tactS


demonstrate                              that.       he     was       sentenced            pursuant           to     the      drug
Case 3:12-cr-00003-DHB-BKE Document 837 Filed 05/04/15 Page 2 of 3




quantity        tables      of U.S.S.G.        S 2Df .f , which have been lowered

by Amendment 782.                Because Smiley       received       a sentence           of   120

months,       a sentence below Ehe l-88-235 month guideline                         range,     he

surmises:            "It     appeares       (sic)     t.hat    the    court       granted         a

departure        under the U.S.S.G.              and sel-ected a sencence from a

range under S 2D1.1-                               (Doc. No. 823, aE 4.)

         The Court         has once again        reviewed      Smiley's       Presentence

Investigation              Report.     The PSI bears          ouE t.he fact       that,

contrary        to   Smiley's        contention,      t.he Court      did   not     select        a

guideline        range      from the drug quantity             tabl-es but        determined

his    sentencing          range under      the Career        offender      table        l-ocated

under        U.S.s.c.        S   4Bl-.1(b) .     The downward departure                  for

subsEantial          assistsance under U.S.S.G.                S 5 K 1. 1 d i d   not alter

this    court's          determj.nation      that    smil-ey was a career            offender;

it     simply     provided       the    court.   a mechanism by which               it     could

deparE from          t.he career         offender      guideline        range.l          Again,

Smiley's        status      as a career     offender      was then and remains now

unchanged-he is a career                offender.       Accordi.ngly,         Amendment 782




         r Further,  the court's    comment abou! Smiley' s future
sEatus may imply that it did not recognize Smiley as a career
offender     on the    day of    sentencing     in   tshis case.  This
impl-ication,    however, is clearly     belied    by the Presentence
Investigatiori    Report.   The Court.'s mistaken aside did noE
affect   Smiley's status as a career offender at sentencing.
Case 3:12-cr-00003-DHB-BKE Document 837 Filed 05/04/15 Page 3 of 3




did    not     lower      smil-ev's     offense     level;        and he     is   cherefore

ineligible          for   retief     under that    amendmenL'            See united   States

v.    Hippolvte,          7a2 F.3d      535, 542 Of        'h cir.        2of3)   ("Section

3582(c) (2)          does     not    authorize      a    sentence reduction           if     a

guidelines          amendment does not. have the effect                    of reducing       the

defendanL's           sentence.");        United    states        v.     Lawson, 686 F.3d

!3I'7, !32L (11!n Cir.              2Ol-2) (stating      that    S 3582(c) (2) does not

authorize          a reduct.ion      in sentence where the defendant's                 total

offense       levet       and guideline      range is        based on S 481.1 as a

career       offender,        and not S 2D1 .1, and Lhe subsequent                reduction

applies       to    tshe base offense        l-evel-s in        S 2D1.1-, buL not        S

481.1) .

       TTn.\'r'1   the foregoing,        Smiley's       motion     for    recons iderat. ion

                   823 ) is    hereby    DENIED.

        ORDERENTEREDat Aususta,                   Georqia,       this                      May,
